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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                          :
                                                  :
                 v.                               :   Crim. No. 21-CR-103 (CJN)
                                                  :
ROBERT PACKER                                     :

                      UNOPPOSED MOTION TO CONTINUE SENTENCING

       Defendant, Robert Keith Packer, through undersigned counsel, Stephen F. Brennwald,

Brennwald & Robertson, respectfully moves this Court to continue the sentencing set for August

25, 2022, to either September 15 or September 16, 2022, at one of the times listed below. To the

extent necessary (in light of the defendant’s plea), defendant consents to the exclusion of time

under the Speedy Trial Act between August 25, 2022, and a new court date. In support of this

unopposed motion, defendant states as follows:

       1.        This matter is set for sentencing on August 25, 2022.

       2.        Given that date, any sentencing memorandum would be due a week prior – in this

case, on August 18, 2022.

       3.        Unfortunately, undersigned counsel still needs to meet with Mr. Packer to discuss

a host of issues ahead of sentencing, and because Mr. Packer is unable to drive to undersigned

counsel’s office for reasons that do not need to be discussed here, counsel must travel to see him.

       4.        Defendant lives about three hours from the District of Columbia, depending on

traffic on I-95 South. In order to save the government money, undersigned counsel has combined

the visit with Mr. Packer with a visit with another client who is incarcerated at the Northern Neck

Regional Jail.
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         5.      Counsel was waiting to obtain a preliminary presentence investigation report in that

other matter, and had arranged to see Mr. Packer and the client at the Northern Neck several weeks

ago, but the presentence report in that case was not released by the time counsel would have had

to leave for the jail, and the entire trip was canceled (including, obviously, the visit with Mr.

Packer).

         6.      In addition, counsel had issues with his vehicle on the date the last trip was

scheduled, which would have caused the cancellation of counsel’s visits with his clients in any

event.

         7.      The presentence report in the other case has now been completed, and counsel is

actually in Newport News, Virgnia, where Mr. Packer resides, as this motion is being written.

Defendant and counsel are meeting shortly, and will discuss the government’s lengthy sentencing

memorandum, as well as the presentence report.

         8.      However, given the amount of material to digest, and the time it will take to prepare

a sentencing memorandum on behalf of Mr. Packer, defendant will not be in a position to submit

his memorandum until sometime during the week of August 22. Thus, defendant will need a little

more time, but will be ready by the next hearing date, if this Court grants this motion.

         9.      In anticipation of the need to find a new date, the parties have conferred with this

Court’s courtroom clerk, and it appears that the Court and all parties would be available for a

sentencing hearing on September 15, 2022, between 11 and 2 (counsel will both be unavailable

starting at 2 p.m.) and on September 16, after 12 p.m.

         10.     As noted above, Mr. Packer agrees to toll the time between July 29, 2022 and

August 25, 2022 under the Speedy Trial Act.
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       11.     Defendant regrets the need to ask for this extension, but it is, he submits, based on

good cause.

       12.     As the title of this motion states, the government does not oppose this request.

       WHEREFORE, for the foregoing reasons, defendant respectfully requests that the Court

GRANT this unopposed motion to continue the sentencing hearing to one of the dates and times

discussed above, and for any other relief this Court deems just and proper.

                                             Respectfully submitted,

                                             Stephen F. Brennwald
                                             ________________________________
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                                 CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a copy of the foregoing was sent, by ECF, this 19th day of
August, 2022, to all parties of record.


                                             Stephen F. Brennwald
                                             _________________________________
                                             Stephen F. Brennwald
